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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re:
                                                                 Chapter 11
Bracha Cab Corp, et al.,
                                                                 Case No.: 17-46613-nhl
                                    Debtors.                     Jointly Administered
-------------------------------------------------------x

                                                                 AFFIDAVIT OF
                                                                 ATTORNEY

STATE OF NEW YORK                  )

COUNTY OF KINGS                    ) ss:

        I, Bruce Weiner, do make solemn oath:

    1. I am the attorney at law duly admitted to practice in the State of New York and in

this court and I am a partner of the firm of Rosenberg, Musso & Weiner (“R, M & W”).

    2. R, M & W maintain their offices for the practice of law at 26 Court Street, Suite 2211,

Brooklyn, New York 11242.

    3. R, M & W are disinterested persons, as that term is defined in Section 101(4) of the

Bankruptcy Code, in that they

             (A) are not creditors, equity security holders, or insiders;

             (B) are not and were not investment bankers for outstanding security of the debtors;

             (C) have not been within three years before the date of the filing of the petition,

investment bankers for a security of the debtors, or attorneys for such an investment banker in

connection with the offer, sale, or issuance of a security of the debtors;

             (D) are not and were not, within two years before the date of the filing of the petition

directors, officers or employees of the debtors or of an investment banker specified in

subparagraph (B) or (C) of this paragraph; and
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           (E) do not have an interest materially adverse to the interest of the estate or of any

class of creditors or equity security holders, by reason of any direct or indirect relationship to,

connection with, or interest in, the debtors or an investment banker specified in subparagraph (B)

or (C) of this paragraph, or for any other reason;

           (F) do not have any connection with the United States Trustee, or any person

employed in the office of the United States Trustee.

           (G) The undersigned is the attorney who will bear primary responsibility for the

representation the authority for which is sought herein, however, R, M & W are partners whose

members all fulfill the description in the following paragraphs and members other than the

undersigned may appear on behalf of the debtor from time to time. The current billing rate for

partners is $650.00 and for associates is $525.00. We do not bill for paraprofessionals. Prior to

any increase in hourly rates, R, M & W shall file a supplemental affidavit with the Court and

give ten business days’ notice to the Debtors, the United State Trustee and any official creditors’

committee, if applicable, which supplemental affidavit shall explain the basis for the requested

rate increases in accordance with section 330(a)(3)(F) of the Bankruptcy Code and indicate

whether the client has received notice of and approved the proposed rate increase.

           (H) R, M & W will not share fees with any other party.

           (I) Prior to our undertaking to represent the Debtors, I reviewed the list of creditors,

the Debtors’ insiders, any medallion management company employed by the Debtors, and their

current and former affiliates to see if R, M & W ever represented any person or entity adverse to

the Debtors. No conflict was found.
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           (J) I also request that the retention of R, M & W be effective as of December 8, 2017,

the date the first Debtor filed its Chapter 11 petition. We request that relief because the

application for retention was prepared in December 2017 and our secretary believed that she had

filed it back in January 2018. We always file such applications in a timely manner and I believed

that this was done in this case as well.

           (K) The undersigned verily believes that he is competent to represent the interests of

the entity on whose behalf representation is now sought in all proceedings now pending or which

may reasonably be expected to be pending in this Court in the foreseeable future.



                                                              /s/Bruce Weiner
                                                              Bruce Weiner

Sworn to before me this
20th day of March, 2018

/s/
Notary Public
